                   Case 24-12480-LSS              Doc 1178         Filed 03/26/25         Page 1 of 16




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


     In re:                                                      Chapter 11

     FRANCHISE GROUP, INC., et al.,1                             Case No. 24-12480 (LSS)

                                   Debtors.                      (Jointly Administered)


                                            AFFIDAVIT OF SERVICE

       I, Eladio Perez, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On February 27, 2025, at my direction and under my supervision, employees of Kroll
caused the following documents to be served by the method set forth on the Core/2002 Service
List attached hereto as Exhibit A:

             Order Scheduling Omnibus Hearing Date [Docket No. 1034]

             Notice of Change of Address [Docket No. 1035]

             Debtors’ Fourteenth Omnibus Motion for Entry of an Order, Pursuant to Sections 105(a),
              365(a), and 554 of the Bankruptcy Code Authorizing the Debtors to (I) Reject Certain


1
    The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
    to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
    Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
    Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
    American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
    Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
    (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
    (5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
    Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet,
    LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
    Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968),
    Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group
    Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490),
    Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC
    (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
    Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC
    (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP
    Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a),
    PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242),
    Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
    The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach, Virginia 23456.
            Case 24-12480-LSS        Doc 1178      Filed 03/26/25    Page 2 of 16




       Unexpired Leases and Executory Contracts, Effective as of the Rejection Date, and (II)
       Abandon Personal Property [Docket No. 1038] (the “Fourteenth Omnibus Motion”)

       On February 27, 2025, at my direction and under my supervision, employees of Kroll
caused the Fourteenth Omnibus Motion to be served via First Class Mail (1) on the Executory
Contracts Rejection Parties Service List attached hereto as Exhibit B, and (2) on the Rejection
Parties Service List attached hereto as Exhibit C.


Dated: March 13, 2025
                                                                  /s/ Eladio Perez
                                                                   Eladio Perez
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on March 13, 2025, by Eladio Perez, proved to me on
the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ OLEG BITMAN
Notary Public, State of New York
No. 01BI6339574
Qualified in New York County
Commission Expires April 4, 2028




                                               2
                                                                                     SRF 86421
Case 24-12480-LSS   Doc 1178   Filed 03/26/25   Page 3 of 16




                       Exhibit A
                                                                                      Case 24-12480-LSS                            Doc 1178                      Filed 03/26/25                  Page 4 of 16
                                                                                                                                                   Exhibit A
                                                                                                                                             Core/2002 Service List
                                                                                                                                            Served as set forth below


                                                                                                                                                                                                                                                   METHOD OF
                                                     DESCRIPTION                                                            NAME                                                         ADDRESS                                      EMAIL         SERVICE
                                                                                                                                                  Attn: Marty L. Brimmage, Jr.
                                                                                                                                                  2300 N. Field Street
Counsel to Michael J. Wartell as the Independent Director and sole member of the Conflicts                                                        Suite 1800
Committee of the Board of each of the Retaining Debtors                                                Akin Gump Strauss Hauer & Feld LLP         Dallas TX 75201                                                 mbrimmage@akingump.com          Email
                                                                                                                                                  Attn: Michael S. Stamer, Brad M. Kahn, Avi E. Luf               mstamer@akingump.com
Counsel to Michael J. Wartell as the Independent Director and sole member of the Conflicts                                                        One Bryant Park                                                 bkahn@akingump.com
Committee of the Board of each of the Retaining Debtors                                                Akin Gump Strauss Hauer & Feld LLP         New York NY 10036                                               aluft@akingump.com              Email
                                                                                                                                                  Attn: Michael D. DeBaecke
Counsel to Michael J. Wartell as the Independent Director and sole member of the Conflicts                                                        500 Delaware Avenue, 8th Floor
Committee of the Board of each of the Retaining Debtors                                                Ashby & Geddes, P.A.                       Wilmington DE 19801                                             mdebaecke@ashbygeddes.com       Email
                                                                                                                                                  Attn: Matthew P. Austria
                                                                                                                                                  1007 N. Orange Street, 4th Floor
Counsel for Dell Financial Services, L.L.C.                                                            Austria Legal, LLC                         Wilmington DE 19801                                             maustria@austriallc.com         Email
                                                                                                                                                  Attn: Leslie C. Heilman, Laurel D. Roglen, Margaret A. Vesper
Counsel to Azalea Joint Venture, LLC, Brixmor Operating Partnership LP, Continental Realty                                                        919 North Market Street                                         heilmanl@ballardspahr.com
Corporation, Federal Realty OP LP, FR Grossmont, LLC, Prime/FRIT Mission Hills, LLC, and ShopOne                                                  11th Floor                                                      roglenl@ballardspahr.com
Centers REIT, Inc.                                                                                       Ballard Spahr LLP                        Wilmington DE 19801                                             vesperm@ballardspahr.com        Email
Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC Management                                                              Attn: Kevin M. Newman
Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland Commercial Real Estate Services LLC,                                          Barclay Damon Tower
Kempner Properties, LLC, National Realty & Development Corp., Northridge Crossing L.P., SS Tulsa                                                  125 East Jefferson Street
Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates                                 Barclay Damon LLP                        Syracuse NY 13202                                               knewman@barclaydamon.com        Email
Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC Management                                                              Attn: Niclas A. Ferland
Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland Commercial Real Estate Services LLC,                                          545 Long Wharf Drive
Kempner Properties, LLC, National Realty & Development Corp., Northridge Crossing L.P., SS Tulsa                                                  Ninth Floor
Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates                                 Barclay Damon LLP                        New Haven CT 06511                                              nferland@barclaydamon.com       Email
Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC Management                                                              Attn: Scott L. Fleischer
Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland Commercial Real Estate Services LLC,                                          1270 Avenue of the Americas
Kempner Properties, LLC, National Realty & Development Corp., Northridge Crossing L.P., SS Tulsa                                                  Suite 501
Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates                                 Barclay Damon LLP                        New York NY 10020                                               sfleischer@barclaydamon.com     Email
                                                                                                                                                  Attn: Kevin G. Collins
                                                                                                                                                  222 Delaware Avenue, Suite 1200
Counsel to Drink LMNT, Inc.                                                                            Barnes & Thornburg LLP                     Wilmington DE 19801                                             kevin.collins@btlaw.com         Email
                                                                                                                                                  Attn: Kevin G. Collins, Mark R. Owens
                                                                                                                                                  222 Delaware Avenue, Suite 1200                                 kevin.collins@btlaw.com
Counsel to Elanco US Inc.                                                                              Barnes & Thornburg LLP                     Wilmington DE 19801                                             mark.owens@btlaw.com            Email
Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates, Pasan LLC, Esan LLC,
Fundamentals Company LLC, Muffrey LLC, Fundamentals Company, Kinpark Associates, Laurie                                                     Attn: Ericka F. Johnson
Industries Inc., Alisan Trust, Diajeff Trust, Stowsan Limited Partnership, Esue LLC, Alisan LLC, and                                        600 N. Market Street, Suite 400
Roseff LLC                                                                                        Bayard, P.A.                              Wilmington DE 19801                                                   ejohnson@bayardlaw.com          Email
                                                                                                                                            Attn: Elliot M. Smith
                                                                                                                                            127 Public Square, Suite 4900
Counsel to The ChildSmiles Group, LLC a/k/a Abra Health                                           Benesch Friedlander Coplan & Aronoff LLP Cleveland OH 44114                                                     esmith@beneschlaw.com           Email
                                                                                                                                            Attn: Kevin M. Capuzzi, Juan E. Martinez, Jennifer R. Hoover          kcapuzzi@beneschlaw.com
                                                                                                                                            1313 North Market Street, Suite 1201                                  jmartinez@beneschlaw.com
Counsel to Babson Macedonia Partners, LLC, TM2, LLC, The ChildSmiles Group, LLC a/k/a Abra Health Benesch Friedlander Coplan & Aronoff LLP Wilmington DE 19801-6101                                               jhoover@beneschlaw.com          Email
                                                                                                                                            Attn: Benjamin Potts, Mae Oberste
                                                                                                                                            500 Delaware Avenue
                                                                                                                                            Suite 901                                                             benjamin.potts@blbglaw.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass and Former Stockholders     Bernstein Litowitz Berger & Grossmann LLP Wilmington DE 19801                                                   mae.oberste@blbglaw.com         Email
                                                                                                                                            Attn: Jeroen van Kwawegen, Thomas James
                                                                                                                                            1251 Avenue of the Americas                                           jeroen@blbglaw.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass and Former Stockholders     Bernstein Litowitz Berger & Grossmann LLP New York NY 10020                                                     thomas.james@blbglaw.com        Email
                                                                                                                                            Attn: Scott Blakeley
                                                                                                                                            530 Technology Drive
                                                                                                                                            Suite 100
Cousnel to Doctor's Best Inc                                                                      Blakeley LC                               Irvine CA 92618                                                       SEB@BlakeleyLC.com              Email
                                                                                                                                            Attn: Michael B. Schaedle, Stanley B. Tarr, Jordan L. Williams        mike.schaedle@blankrome.com
                                                                                                                                            1201 N. Market Street, Suite 800                                      stanley.tarr@blankrome.com
Counsel for Wilmington Trust, National Association, as Prepetition First Lien Agent and DIP Agent Blank Rome LLP                            Wilmington DE 19801                                                   jordan.williams@blankrome.com   Email




              In re: Franchise Group, Inc., et al.
              Case No. 24-12480 (LSS)                                                                                                              Page 1 of 9
                                                                                    Case 24-12480-LSS                               Doc 1178                       Filed 03/26/25                      Page 5 of 16
                                                                                                                                                     Exhibit A
                                                                                                                                               Core/2002 Service List
                                                                                                                                              Served as set forth below


                                                                                                                                                                                                                                                       METHOD OF
                                                    DESCRIPTION                                                             NAME                                                            ADDRESS                                         EMAIL       SERVICE
                                                                                                                                                    Attn: Kimberly A. Evans, Irene R. Lax
                                                                                                                                                    222 Delaware Ave
                                                                                                                                                    Suite 1120                                                        kim@blockleviton.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and Former Stockholders        Block & Leviton, LLP                          Wilmington DE 19801                                               irene@blockleviton.com          Email
                                                                                                                                                                                                                      fitzgeraldb@hcfl.gov
                                                                                                                                                    Post Office Box 1110                                              stroupj@hcfl.gov
Counsel to Nancy C. Millan, Hillsborough County Tax Collector                                         Brian T. FitzGerald                           Tampa FL 33601-1110                                               connorsa@hcfl.gov               Email
                                                                                                                                                    Attn: Kristen N. Pate
                                                                                                                                                    350 N. Orleans Street
                                                                                                                                                    Suite 300
Counsel to Brookfield Properties Retail Inc                                                           Brookfield Properties Retail Inc              Chicago IL 60654-1607                                             bk@bpretail.com                 Email
                                                                                                                                                    Attn: Shawn M. Christianson
                                                                                                                                                    425 Market Street, Suite 2900
Counsel to Oracle America, Inc                                                                        Buchalter, A Professional Corporation         San Francisco CA 94105-3493                                       schristianson@buchalter.com     Email
                                                                                                                                                    Attn: J. Cory Falgowski
Counsel to Comenity Capital Bank, CTO24 Carolina LLC, as successor in interest to DDR Carolina                                                      222 Delaware Avenue, Suite 1030
Pavilion, LP, Sylvan Park Apartments, LLC                                                             Burr & Forman LLP                             Wilmington DE 19801                                               jfalgowski@burr.com             Email
                                                                                                                                                    Attn: J. Ellsworth Summers, Jr., Dana L. Robbins
Counsel for CTO24 Carolina LLC, as successor in interest to DDR Carolina Pavilion, LP, Sylvan Park                                                  50 North Laura Street, Suite 3000                                 esummers@burr.com
Apartments, LLC                                                                                       Burr & Forman LLP                             Jacksonville FL 32202                                             drobbins@burr.com               Email
                                                                                                                                                    Attn: James H. Haithcock, III
                                                                                                                                                    420 N. 20th Street, Suite 3400
Counsel to Comenity Capital Bank                                                                      Burr & Forman LLP                             Birmingham AL 35203                                               jhaithcock@burr.com             Email
                                                                                                                                                    Attn: Richard J. McCord
                                                                                                                                                    90 Merrick Avenue
                                                                                                                                                    9th Floor
Counsel to 3644 Long Beach Road LLC                                                                   Certilman Balin Adler & Hyman, LLP            East Meadow NY 11554                                              rmccord@certilmanbalin.com      Email
                                                                                                                                                    Attn: Mark L. Desgrosseilliers
                                                                                                                                                    Hercules Plaza
                                                                                                                                                    1313 North Market St, Suite 5400
Counsel to Hilco Merchant Resources, LLC                                                              Chipman Brown Cicero & Cole, LLP              Wilmington DE 19801                                               desgross@chipmanbrown.com       Email
                                                                                                                                                    Attn: Audrey L. Hornisher
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC, VS Tempe, LLC, Vestar-CPT                                                901 Main Street, Suite 6000
Tempe Marketplace, LLC                                                                               Clark Hill PLC                                 Dallas TX 75202                                                   ahornisher@clarkhill.com        Email
                                                                                                                                                    Attn: Karen M. Grivner
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC, VS Tempe, LLC, Vestar-CPT                                                824 N. Market Street, Suite 710
Tempe Marketplace, LLC                                                                               Clark Hill PLC                                 Wilmington DE 19801                                               kgrivner@clarkhill.com          Email
                                                                                                                                                    Attn: Bruce Z. Walker
                                                                                                                                                    3350 Riverwood Parkway, Suite 1600
Counsel to Horizon Jajo, LLC                                                                          Cohen Pollock Merlin Turner, P.C.             Atlanta GA 30339                                                  bwalker@cpmtlaw.com             Email
                                                                                                                                                    Attn: Jeffrey C. Wisler
                                                                                                                                                    1201 North Market Street, 20th Floor
Counsel to Blue Yonder, Inc.                                                                          Connolly Gallagher LLP                        Wilmington DE 19801                                               jwisler@connollygallagher.com   Email
                                                                                                                                                    Attn: John D. Landwehr
                                                                                                                                                    231 Madison Street
Counsel to Missouri Boulevard Investment Company                                                      Cook, Vetter, Doerhoff & Landwehr, P.C.       Jefferson City MO 65101                                           jlandwehr@cvdl.net              Email
                                                                                                                                                    Attn: Belkys Escobar
                                                                                                                                                    One Harrison Street, SE, 5th Floor
                                                                                                                                                    PO Box 7000
Counsel to County of Loudoun, Virginia                                                                County of Loudoun, Virginia                   Leesburg VA 20177-7000                                            belkys.escobar@loudoun.gov      Email
                                                                                                                                                    Attn: William L. Siegel
                                                                                                                                                    901 Main Street, Suite 3900
Counsel to Krober Supply Chain US, Inc                                                                Cowles & Thompson, P.C.                       Dallas TX 75202                                                   bsiegel@cowlesthompson.com      Email
                                                                                                                                                    Attn: Brian L. Shaw
                                                                                                                                                    123 North Wacker Drive
                                                                                                                                                    Suite 1800
Counsel to the Prophecy Settlement-related Liquidating Trust 2022-23                                  Cozen O'Connor                                Chicago IL 60606                                                  bshaw@cozen.com                 Email




             In re: Franchise Group, Inc., et al.
             Case No. 24-12480 (LSS)                                                                                                                 Page 2 of 9
                                                                                  Case 24-12480-LSS                                Doc 1178                     Filed 03/26/25                     Page 6 of 16
                                                                                                                                                  Exhibit A
                                                                                                                                            Core/2002 Service List
                                                                                                                                           Served as set forth below


                                                                                                                                                                                                                                                           METHOD OF
                                                     DESCRIPTION                                                         NAME                                                           ADDRESS                                        EMAIL                SERVICE
                                                                                                                                                  Attn: Marla S. Benedek, Kaan Ekiner
                                                                                                                                                  1201 N. Market Street
                                                                                                                                                  Suite 1001                                                      mbenedek@cozen.com
Counsel to the Prophecy Settlement-related Liquidating Trust 2022-23                                 Cozen O'Connor                               Wilmington DE 19801                                             kekiner@cozen.com                      Email
                                                                                                                                                  Attn: Christopher P. Simon
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc., Sunwarrior Ventures LLC                                               1105 North Market Street, Suite 901
d/b/a Sunwarrior LLC and Sun Brothers, LLC                                                          Cross & Simon, LLC                            Wilmington DE 19801                                             csimon@crosslaw.com                    Email
                                                                                                                                                  Attn: Kevin S. Mann
                                                                                                                                                  1105 North Market Street, Suite 901
Counsel to Kawips Delaware Cuyahoga Falls, LLC                                                       Cross & Simon, LLC                           Wilmington DE 19801                                             kmann@crosslaw.com                     Email
                                                                                                                                                  Attn: Stephen B. Porterfield
                                                                                                                                                  2311 Highland Avenue South
                                                                                                                                                  P.O. Box 55727
Counsel to Kings Mountain Investments, Inc.                                                          Dentons Sirote PC                            Birmingham AL 35255-5727                                        stephen.porterfield@dentons.com        Email
                                                                                                                                                  Attn: Christopher M. Winter, James C. Carignan
                                                                                                                                                  1201 N. Market Street, Suite 501                                cmwinter@duanemorris.com
Counsel to Ahuja Development LLC                                                                     Duane Morris LLP                             Wilmington DE 19801                                             jccarignan@duanemorris.com             Email
                                                                                                                                                  Attn: Michael T. Gustafson
                                                                                                                                                  320 South Canal Street, Suite 3300
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates                           Faegre Drinker Biddle & Reath LLP            Chicago IL 60606                                                mike.gustafson@faegredrinker.com       Email
                                                                                                                                                  Attn: Patrick A. Jackson
                                                                                                                                                  222 Delaware Avenue, Suite 1410
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates                           Faegre Drinker Biddle & Reath LLP            Wilmington DE 19801                                             patrick.jackson@faegredrinker.com      Email
                                                                                                                                                  Attn: Brian E. Farnan, Michael J. Farnan
                                                                                                                                                  919 North Market Street
                                                                                                                                                  12th Floor                                                      bfarnan@farnanlaw.com
Counsel to Ad Hoc Group of Freedom Lenders                                                           Farnan LLP                                   Wilmington DE 19801                                             mfarnan@farnanlaw.com                  Email
                                                                                                                                                  Attn: Erin P. Severini, Joy D. Kleisinger
                                                                                                                                                  3300 Great American Tower
                                                                                                                                                  301 East Fourth Street                                          eseverini@fbtlaw.com
Counsel for WPG Legacy, LLC                                                                          Frost Brown Todd LLP                         Cincinnati OH 45202                                             jkleisinger@fbtlaw.com                 Email
                                                                                                                                                  Attn: Sloane B. O’Donnell
                                                                                                                                                  Union Trust Building
                                                                                                                                                  501 Grant Street, Suite 800
Counsel for Cintas Corporation No. 2                                                                 Frost Brown Todd LLP                         Pittsburgh PA 15219                                             sodonnell@fbtlaw.com                   Email
                                                                                                                                                  Attn: Lorenzo Nunez
                                                                                                                                                  PO Box 183853
Counsel to ACAR Leasing LTD d/b/a GM Financial Leasing                                               GM Financial Leasing                         Arlington TX 76096                                                                                     First Class Mail
                                                                                                                                                  Attn: Anthony W. Clark, Dennis A. Meloro
                                                                                                                                                  222 Delaware Avenue
                                                                                                                                                  Suite 1600                                                      Anthony.Clark@gtlaw.com
Counsel to Arizona Nutritional Supplements                                                           Greenberg Traurig, LLP                       Wilmington DE 19801                                             Dennis.Meloro@gtlaw.com                Email
                                                                                                                                                  Susan Fuertes
Counsel to Harris County, Harris County Flood Control District, Harris County Port of Houston                                                     Attn: Property Tax Division
Authority, Harris County Hospital District, and Harris County Department of Education (hereinafter                                                P.O. Box 2848
“Harris County”)                                                                                     Harris County Attorney’s Office              Houston TX 77252                                                taxbankruptcy.cao@harriscountytx.gov   Email
                                                                                                                                                  Attn: Phillip W. Nelson
                                                                                                                                                  150 N. Riverside Plaza, Suite 2700
Counsel to Alter Domus (US) LLC                                                                      Holland & Knight LLP                         Chicago IL 60606                                                phillip.nelson@hklaw.com               Email
                                                                                                                                                  Attn: Flora Oropeza
                                                                                                                                                  940 West Main Street, Suite 106
Counsel to County to Imperial Treasurer-Tax Collector                                                Imperial Treasurer-Tax Collector             El Centro CA 92243                                                                                     First Class Mail
                                                                                                                                                  Centralized Insolvency Operation
                                                                                                                                                  P.O. Box 7346
IRS Insolvency Section                                                                               Internal Revenue Service                     Philadelphia PA 19101-7346                                                                             First Class Mail
                                                                                                                                                  Attn: William J. Levant
                                                                                                                                                  910 Harvest Drive
                                                                                                                                                  Post Office Box 3037
Counsel to 100 Brentwood Associates, L.P.                                                            Kaplin Stewart Meloff Reiter & Stein, P.C.   Blue Bell PA 19422                                              wlevant@kaplaw.com                     Email




              In re: Franchise Group, Inc., et al.
              Case No. 24-12480 (LSS)                                                                                                             Page 3 of 9
                                                                                     Case 24-12480-LSS                                  Doc 1178                     Filed 03/26/25                    Page 7 of 16
                                                                                                                                                       Exhibit A
                                                                                                                                                 Core/2002 Service List
                                                                                                                                                Served as set forth below


                                                                                                                                                                                                                                                                               METHOD OF
                                             DESCRIPTION                                                                         NAME                                                           ADDRESS                                                   EMAIL                 SERVICE
Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield Properties Retail, Inc., Curbline                                                     Attn: Robert L. LeHane, Jennifer D. Raviele, Allison Selick                   KDWBankruptcyDepartment@kelleydrye.com
Properties Corp., First Washington Realty, GCP Boom LLC, JLL Property Management (Franklin Mall),                                                     3 World Trade Center                                                          rlehane@kelleydrye.com
Kite Realty Group, L.P., NNN REIT, Inc., Regency Centers, L.P., Shamrock A. Owner LLC, and SITE                                                       175 Greenwich Street                                                          jraviele@kelleydrye.com
Centers Corp.                                                                                             Kelley Drye & Warren LLP                    New York NY 10007                                                             aselick@kelleydrye.com                   Email
                                                                                                                                                      Attn: Michelle Leeson, Paralegal, Collections Specialist, CFCA
                                                                                                          Ken Burton, Jr., Manatee County Tax         1001 3rd Ave W, Suite 240
Counsel to Ken Burton, Jr., Manatee County Tax Collector                                                  Collector                                   Brandenton FL 34205-7863                                                      legal@taxcollector.com                   Email
                                                                                                                                                      Attn: Scott A. Bachert
                                                                                                                                                      1411 Scottsville Road
Counsel to Frontier Bel Air LLC, Frontier Dania LLC, Frontier Osceola LLC, Frontier Dover LLC, Frontier                                               P. O. Box 9547
Kissimmee LLC                                                                                             Kerrick Bachert PSC                         Bowling Green KY 42102-9547                                                                                            First Class Mail
                                                                                                                                                      Attn: J. Daniel Albert, Michael McCutcheon
                                                                                                                                                      280 King of Prussia Rd
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and Former Stockholders            Kessler Topac Meltzer & Check LLP           Radnor PA 19087                                                               dalbert@ktmc.com                         Email
                                                                                                                                                      Attn: Joshua A. Sussberg, P.C., Nicole L. Greenblatt, P.C., Derek I. Hunter   joshua.sussberg@kirkland.com
                                                                                                                                                      601 Lexington Avenue                                                          nicole.greenblatt@kirkland.com
Counsel to Debtors and Debtors In Possession                                                              Kirkland & Ellis LLP                        New York NY 10022                                                             derek.hunter@kirkland.com                Email
                                                                                                                                                      Attn: Mark McKane, P.C.
                                                                                                                                                      555 California Street
Counsel to Debtors and Debtors In Possession                                                              Kirkland & Ellis LLP                        San Francisco CA 94101                                                        mark.mckane@kirkland.com                 Email
                                                                                                                                                      Attn: Domenic E. Pacitti
                                                                                                                                                      919 N. Market Street, Suite 1000
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC                 Klehr Harrison Harvey Branzburg LLP         Wilmington DE 19801-3062                                                      dpacitti@klehr.com                       Email
                                                                                                                                                      Attn: Morton R. Branzburg
                                                                                                                                                      1835 Market Street, Suite 1400
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC                 Klehr Harrison Harvey Branzburg LLP         Philadelphia PA 19103                                                         mbranzburg@klehr.com                     Email
                                                                                                                                                      Attn: Jeffrey Kurtzman
                                                                                                                                                      101 N. Washington Avenue
                                                                                                                                                      Suite 4A
Counsel to Oxford Valley Road Associates, L.P.                                                            Kurtzman Steady LLC                         Margate NJ 08402                                                              kurtzman@kurtzmansteady.com              Email
                                                                                                                                                      Attn: Adam G. Landis, Matt McGuire, Elizabeth Rogers
                                                                                                                                                      919 Market Street Suite 1800                                                  landis@lrclaw.com
                                                                                                                                                      P.O. Box 2087                                                                 mcguire@lrclaw.com                       First Class Mail
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                                         Landis Rath & Cobb LLP                      Wilmington DE 19801                                                           erogers@lrclaw.com                       and Email
                                                                                                                                                      Attn: Andrew Sorkin
                                                                                                                                                      555 Eleventh Street NW
                                                                                                                                                      Suite 1000
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                                            Latham & Watkins LLP                        Washington DC 20004                                                           andrew.sorkin@lw.com                     Email
                                                                                                                                                      Attn: James Kstanes, Timothy Beau Parker
                                                                                                                                                      330 N Wabash Avenue
                                                                                                                                                      Suite 2800                                                                    james.ktsanes@lw.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                                            Latham & Watkins LLP                        Chicago IL 60611 Canada                                                       beau.parker@lw.com                       Email
                                                                                                                                                      Attn: Jennifer Ezring, James Ktsanes, Andrew Sorkin                           Jennifer.Ezring@lw.com
                                                                                                                                                      1271 Avenue of the Americas                                                   James.Ktsanes@lw.com                     First Class Mail
Counsel to the ABL Secured Parties                                                                        Latham & Watkins LLP                        New York NY 10020                                                             andrew.sorkin@lw.com                     and Email
Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield Properties Retail, Inc., Curbline
Properties Corp., First Washington Realty, GCP Boom LLC, JLL Property Management (Franklin Mall),                                                     Attn: Susan E. Kaufan
Kite Realty Group, L.P., NNN REIT, Inc., Regency Centers, L.P., Shamrock A. Owner LLC, and SITE                                                       919 N. Market Street, Suite 460
Centers Corp., MJK Real Estate Holding Company, LLC                                                       Law Office of Susan E. Kaufman              Wilmington DE 19801                                                           skaufman@skaufmanlaw.com                 Email
                                                                                                                                                      Attn: Diane W. Sanders
                                                                                                                                                      PO Box 17428
Counsel to Nueces County, Mclennan County, Kerr County, Hidalgo County, City of McAllen                   Linebarger Goggan Blair & Sampson, LLP      Austin TX 78760-7428                                                          austin.bankruptcy@lgbs.com               Email
                                                                                                                                                      Attn: Don Stecker
                                                                                                                                                      112 E. Pecan Street, Suite 2200
Counsel to Bexar County, City of El Paso                                                                  Linebarger Goggan Blair & Sampson, LLP      San Antonio TX 78205                                                          sanantonio.bankruptcy@lgbs.com           Email
                                                                                                                                                      Attn: John K. Turner
                                                                                                                                                      2777 N. Stemmons Freeway
                                                                                                                                                      Suite 1000
Counsel to Dallas County                                                                                  Linebarger Goggan Blair & Sampson, LLP      Dallas TX 75207                                                               dallas.bankruptcy@lgbs.com               Email




             In re: Franchise Group, Inc., et al.
             Case No. 24-12480 (LSS)                                                                                                                   Page 4 of 9
                                                                                   Case 24-12480-LSS                                Doc 1178                     Filed 03/26/25                      Page 8 of 16
                                                                                                                                                   Exhibit A
                                                                                                                                             Core/2002 Service List
                                                                                                                                            Served as set forth below


                                                                                                                                                                                                                                                          METHOD OF
                                                    DESCRIPTION                                                          NAME                                                             ADDRESS                                       EMAIL              SERVICE

Counsel to Hopkins County, Kaufman County, Sulphur Springs ISD, Rockwall CAD, Tarrant County,                                                     Attn: John Kendrick Turner
Navarro County, Smith County, Ellis County, City of Sulphur Springs, Wise County, Tom Green CAD,                                                  3500 Maple Avenue
Grayson County, Gregg County, Prosper ISD, Town of Prosper, City of Carrollton, Northwest ISD, City                                               Suite 800
of Allen, City of Wylie, Lewisville ISD, Allen ISD, City of Frisco, Irving ISD, Parker CAD          Linebarger Goggan Blair & Sampson, LLP        Dallas TX 75219                                                   dallas.bankruptcy@lgbs.com           Email
Counsel to Cypress-Fairbanks ISD, Harris County, Galveston County, Montgomery County, Ford Bend
County, Katy ISD, Harris CO ESD # 08, City of Houston, Montgomery County, Harris CO ESD # 48, Lone
Star College System, Harris CO ESD # 16, Harris CO ESD # 11, Houston ISD, Galveston County, Harris                                                Attn: Tara L. Grundemeier
CO ESD # 09, Cypress-Fairbanks ISD, Deer Park ISD, Fort Bend County, Houston Comm Coll System,                                                    PO Box 3064
City of Pasadena, Jefferson County                                                                  Linebarger Goggan Blair & Sampson, LLP        Houston TX 77253-3064                                             houston_bankruptcy@lgbs.com          Email
                                                                                                                                                  Attn: Michael S. Etkin, Michael Papandrea
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc., Sunwarrior Ventures LLC                                               One Lowenstein Drive                                              metkin@lowenstein.com
d/b/a Sunwarrior LLC and Sun Brothers, LLC                                                          Lowenstein Sandler LLP                        Roseland NJ 07068                                                 mpapandrea@lowenstein.com            Email
                                                                                                                                                  Attn: Lisa S. Bonsall
                                                                                                                                                  Four Gateway Center
                                                                                                                                                  100 Mulberry Street
Counsel to Heritage Seymour I, LLC and Heritage Seymour II, LLC                                       McCarter & English, LLP                     Newark NJ 07102                                                   lbonsall@mccarter.com                Email
                                                                                                                                                  Attn: Shannon D. Humiston, Kate Roggio Buck, Maliheh Zare
                                                                                                                                                  Renaissance Centre                                                shumiston@mccarter.com
Counsel to Heritage Seymour I, LLC and Heritage Seymour II, LLC, Shelbyville Road Plaza, LLC,                                                     405 N. King Street, 8th Floor                                     kbuck@mccarter.com
Lichtefeld Development Trust, Lichtefeld Properties LLC                                               McCarter & English, LLP                     Wilmington DE 19801                                               mzare@mccarter.com                   Email
Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet Central Appraisal District,
Bowie Central Appraisal District, Denton County, Guadalupe County, Hays County, Midland Central                                                   Attn: Julie Anne Parsons
Appraisal District, City of Waco/Waco Independent School District/La Vega Independent School                                                      700 Jeffrey Way, Suite 100
District, and Williamson County                                                                       McCreary, Veselka, Bragg, & Allen, P.C.     Round Rock TX 78665                                               jparsons@mvbalaw.com                 Email
Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet Central Appraisal District,
Bowie Central Appraisal District, Denton County, Guadalupe County, Hays County, Midland Central                                                   Attn: Julie Anne Parsons
Appraisal District, City of Waco/Waco Independent School District/La Vega Independent School                                                      P.O. Box 1269
District, and Williamson County                                                                       McCreary, Veselka, Bragg, & Allen, P.C.     Round Rock TX 78680-1269                                          jparsons@mvbalaw.com                 Email
                                                                                                                                                  Attn: David A. Shapiro
                                                                                                                                                  33 N. LaSalle Street
                                                                                                                                                  Suite 1400                                                        dshapiro@mckenna-law.com
Counsel to Parm Golf Center LLC                                                                       McKenna Storer                              Chicago IL 60602                                                  service@mckenna-law.com              Email
                                                                                                                                                  Attn: Nicole C. Kenworthy
                                                                                                                                                  6801 Kenilworth Avenue, Suite 400
Counsel to Prince George's County, Maryland                                                           Meyers, Rodbell & Rosenbaum, P.A.           Riverdale MD 20737-1385                                           bdept@mrrlaw.net                     Email
                                                                                                                                                  Attn: Joseph H. Baldiga, Shannah L. Colbert
                                                                                                                                                  1800 West Park Dr., Suite 400                                     jbaldiga@mirickoconnell.com
Counsel to New Westgate Mall LLC                                                                      Mirick, O’Connell, DeMallie & Lougee, LLP   Westborough MA 01581                                              scolbert@mirickoconnell.com          Email
                                                                                                                                                  Attn: Rachel B. Mersky
                                                                                                                                                  1201 N. Orange Street, Suite 400
Counsel to Kimco Realty Corporation, 2205 Federal Investors, LLC                                      Monzack Mersky and Browder, P.A.            Wilmington DE 19801                                               rmersky@monlaw.com                   Email
                                                                                                                                                  Attn: Christopher L. Carter
                                                                                                                                                  One Federal Street
Counsel to Bank of America, N.A., as Prepetition ABL Agent                                            Morgan, Lewis & Bockius LLP                 Boston MA 02110-1726                                              christopher.carter@morganlewis.com   Email
                                                                                                                                                  Attn: David K. Shim
                                                                                                                                                  One State Street
Counsel to Bank of America, N.A., as Prepetition ABL Agent                                            Morgan, Lewis & Bockius LLP                 Hartford CT 06103-3178                                            david.shim@morganlewis.com           Email
                                                                                                                                                  Attn: Carl N. Kunz, III, Christopher M. Donnelly
                                                                                                                                                  500 Delaware Avenue, Suite 1500                                   ckunz@morrisjames.com
Counsel for RCG-PSC Camp Creek Owner, LLC, University Realty Associates, LLC                          Morris James LLP                            Wilmington DE 19801                                               cdonnelly@morrisjames.com            Email
                                                                                                                                                  Attn: Deborah M. Perry
                                                                                                                                                  500 N. Akard Street
                                                                                                                                                  Suite 4000
Counsel to BC Exchange Salt Pond                                                                      Munsch Hardt Kopf & Harr, P.C.              Dallas TX 75201-6659                                              dperry@munsch.com                    Email




             In re: Franchise Group, Inc., et al.
             Case No. 24-12480 (LSS)                                                                                                               Page 5 of 9
                                                                                 Case 24-12480-LSS                                Doc 1178                      Filed 03/26/25                     Page 9 of 16
                                                                                                                                                  Exhibit A
                                                                                                                                            Core/2002 Service List
                                                                                                                                           Served as set forth below


                                                                                                                                                                                                                                                         METHOD OF
                                                    DESCRIPTION                                                        NAME                                                               ADDRESS                                       EMAIL             SERVICE
                                                                                                                                                  Attn: Timothy J. Fox, Esq
                                                                                                                                                  844 King Street, Suite 2207

                                                                                                    Office of the United States Trustee for the   Lockbox 35
United States Trustee for the District of Delaware                                                  District of Delaware                          Wilmington DE 19801                                               timothy.fox@usdoj.gov              Email
                                                                                                                                                  Attn: Brian J. McLaughlin
                                                                                                                                                  222 Delaware Avenue
                                                                                                                                                  Suite 1105
Counsel to Rockfirm, LLC                                                                            Offit Kurman, PA                              Wilmington DE 19801                                               Brian.McLaughlin@offitkurman.com   Email
                                                                                                                                                  Attn: Tammy Jones
                                                                                                                                                  320 Robert S. Kerr
                                                                                                                                                  Room 307
Counsel to Oklahoma County Treasurer                                                                Oklahoma County Treasurer                     Oklahoma City OK 73102                                            tammy.jones@oklahomacounty.org     Email
                                                                                                                                                  Attn: Bradford J. Sandler, Colin R. Robinson
                                                                                                                                                  919 North Market Street, 17th Floor
                                                                                                                                                  P.O. Box 8705                                                     bsandler@pszjlaw.com
Counsel to the Official Committee of Unsecured Creditors                                            Pachulski Stang Ziehl & Jones LLP             Wilmington DE 19899-8705                                          crobinson@pszjlaw.com              Email
                                                                                                                                                  Attn: Robert J. Feinstein, Alan J. Kornfeld, Theodore S. Heckel   rfeinstein@pszjlaw.com
                                                                                                                                                  780 Third Avenue, 34th Floor                                      akornfeld@pszjlaw.com
Counsel to the Official Committee of Unsecured Creditors                                            Pachulski Stang Ziehl & Jones LLP             New York NY 10017                                                 theckel@pszjlaw.com                Email
                                                                                                                                                  Attn: Joseph C. Barsalona II
                                                                                                                                                  824 North Market Street
                                                                                                                                                  Suite 800
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and Former Stockholders      Pashman Stein Walder Hayden, PC               Wilmington DE 19801                                               jbarsalona@pashmanstein.com        Email
                                                                                                                                                                                                                    jaymegoldstein@paulhastings.com
                                                                                                                                                Attn: Jayme Goldstein, Jeremy Evans, Isaac Sasson, Daniel Fliman    jeremyevans@paulhastings.com
                                                                                                                                                200 Park Avenue                                                     isaacsasson@paulhastings.com       First Class Mail
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                                   Paul Hastings LLP                           New York NY 10166                                                   danfliman@paulhastings.com         and Email
                                                                                                                                                Attn: Nicholas A. Bassett
                                                                                                                                                2050 M Street NW
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                                   Paul Hastings LLP                           Washington DC 20036                                                 nicholasbassett@paulhastings.com   Email
                                                                                                                                                Attn: Hiram Gutierrez
                                                                                                    Perdue, Brandon, Fielder, Collins & Mott, P.O. Box 2916
Cousnel to Brownsville Independent School District                                                  L.L.P                                       McAllen TX 78502                                                    edinburgbankruptcy@pbfcm.com       Email
                                                                                                                                                Attn: Laura J. Monroe
                                                                                                    Perdue, Brandon, Fielder, Collins & Mott, PO Box 817
Cousel to Lubbock Central Appraisal District Midland County                                         L.L.P                                       Lubbock TX 79408                                                    lmbkr@pbfcm.com                    Email
                                                                                                                                                Attn: Sergio E. Garcia
                                                                                                                                                3301 Northland Drive
                                                                                                    Perdue, Brandon, Fielder, Collins & Mott, Suite 505
Counsel to Kerrville Independent School District, Copperas Cove Independent School District         L.L.P                                       Austin TX 78731                                                     sgarcia@pbfcm.com                  Email
                                                                                                                                                Attn: Melissa E. Valdez
                                                                                                                                                1235 North Loop West
Counsel to Magnolia Independent School District and City of Montgomery, Brazoria County, Brazoria   Perdue, Brandon, Fielder, Collins & Mott, Suite 600
County Municipal Utility District #34                                                               L.L.P.                                      Houston TX 77008                                                    mvaldez@pbfcm.com                  Email
                                                                                                                                                Attn: Alysia Córdova
                                                                                                    Perdue, Brandon, Fielder, Collins and Mott, P.O. Box 9132                                                       acordova@pbfcm.com
Counsel to Potter County Tax Office and Randall County Tax Office                                   L.L.P.                                      Amarillo TX 79105                                                   amabkr@pbfcm.com                   Email
                                                                                                                                                Attn: Elisa Hyder
                                                                                                                                                Three Logan Square
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc., Mars Fishcare North America, Inc.,                                               1717 Arch Street, Suite 2800
Royal Canin U.S.A., Inc.                                                                            Polsinelli PC                               Philadelphia PA 19103                                               ehyder@polsinelli.com              Email
                                                                                                                                                Attn: Shanti M. Katona, Katherine M. Devanney
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc., Mars Fishcare North America, Inc.,                                               222 Delaware Avenue, Suite 1101                                     skatona@polsinelli.com
Royal Canin U.S.A., Inc.                                                                            Polsinelli PC                               Wilmington DE 19801                                                 kdevanney@polsinelli.com           Email
                                                                                                                                                Attn: Jeremy W. Ryan, Brett M. Haywood, Ethan H. Sulik
                                                                                                                                                1313 N. Market Street                                               jryan@potteranderson.com
                                                                                                                                                6th Floor                                                           bhaywood@potteranderson.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                                      Potter Anderson & Corroon LLP               Wilmington DE 19801                                                 esulik@potteranderson.com          Email




             In re: Franchise Group, Inc., et al.
             Case No. 24-12480 (LSS)                                                                                                              Page 6 of 9
                                                                                 Case 24-12480-LSS                                   Doc 1178                    Filed 03/26/25                 Page 10 of 16
                                                                                                                                                   Exhibit A
                                                                                                                                             Core/2002 Service List
                                                                                                                                            Served as set forth below


                                                                                                                                                                                                                                                                       METHOD OF
                                                     DESCRIPTION                                                         NAME                                                            ADDRESS                                                          EMAIL         SERVICE
                                                                                                                                                  Attn: L. Kate Mason
                                                                                                                                                  411 E. Wisconsin Avenue
                                                                                                                                                  Suite 2400
Counsel to Whirlpool Corporation                                                                       Quarles & Brady LLP                        Milwaukee WI 53202                                                               Katie.Mason@quarles.com           Email
                                                                                                                                                  Attn: John H. Knight, Amanda R. Steele, Alexander R. Steiger
                                                                                                                                                  One Rodney Square                                                                knight@rlf.com
                                                                                                                                                  920 North King Street                                                            steele@rlf.com
Cousnel to B. Riley Principal Investments, LLC and its affiliates                                      Richards Layton & Finger PA                Wilmington DE 19801                                                              steiger@rlf.com                   Email
                                                                                                                                                  Attn: Steven Fox
                                                                                                                                                  Times Square Tower Suite 2506
                                                                                                                                                  Seven Times Square
Counsel to Hilco Merchant Resources, LLC                                                               Riemer & Braunstein LLP                    New York NY 10036                                                                sfox@reimerlaw.com                First Class Mail
                                                                                                                                                  Attn: Michael L. Schlepp
                                                                                                                                                  1550 Wewatta Street, Floor 2
Counsel to Wilson AmCap II LLC                                                                         S&D Law                                    Denver CO 80202                                                                                                    First Class Mail

Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn Station LLC, Harvest Station LLC,
Village Mooresville Station LLC, Fairfield Station LLC, Lakewood (Ohio) Station LLC, Shoregate Station
LLC, Hartville Station LLC, Jensen Beach Station LLC, Chapel Hill North Station LLC, Five Town Station
LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton Village Station LLC, Memorial Kirkwood                                               Attn: Monique B. DiSabatino, Mark Minuti
Station LLC, Orchard Square Station LLC, Rainbow Station North LLC, Southfield Station LLC, Stone                                                 1201 North Market Street, Suite 2300
Gate Station LLC, Valrico Station LLC, Wheat Ridge Station LLC, Summerville Station LLC, and Phillips                                             P.O. Box 1266                                                                    monique.disabatino@saul.com
Edison & Company, Beral, LLLP, Laurel Lakes, LLC                                                        Saul Ewing LLP                            Wilmington DE 19899                                                              mark.minuti@saul.com              Email
Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn Station LLC, Harvest Station LLC,
Village Mooresville Station LLC, Fairfield Station LLC, Lakewood (Ohio) Station LLC, Shoregate Station
LLC, Hartville Station LLC, Jensen Beach Station LLC, Chapel Hill North Station LLC, Five Town Station
LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton Village Station LLC, Memorial Kirkwood                                               Attn: Turner N. Falk
Station LLC, Orchard Square Station LLC, Rainbow Station North LLC, Southfield Station LLC, Stone                                                 Centre Square West
Gate Station LLC, Valrico Station LLC, Wheat Ridge Station LLC, Summerville Station LLC, and Phillips                                             1500 Market Street, 38th Floor
Edison & Company                                                                                        Saul Ewing LLP                            Philadelphia PA 19102                                                            turner.falk@saul.com              Email
                                                                                                                                                  Attn: Bankruptcy Department
                                                                                                                                                  Brookfield Place
                                                                                                       Securities & Exchange Commission - NY      200 Vesey Street, Suite 400                                                      bankruptcynoticeschr@sec.gov      First Class Mail
Securities and Exchange Commission                                                                     Office                                     New York NY 10281-1022                                                           nyrobankruptcy@sec.gov            and Email
                                                                                                                                                  Attn: Bankruptcy Department
                                                                                                                                                  One Penn Center
                                                                                                       Securities & Exchange Commission -         1617 JFK Blvd, Suite 520                                                                                           First Class Mail
Securities and Exchange Commission                                                                     Philadelphia Office                        Philadelphia PA 19103                                                            secbankruptcy@sec.gov             and Email
                                                                                                                                                  Attn: Alan J. Taylor
                                                                                                                                                  29100 Northwestern Highway, Suite 240
Counsel to Brookdale Shopping Center, L.L.C. ( Creditor/Landlord)                                      Segal McCambridge Singer & Mahoney         Southfield MI 48034                                                              ataylor@smsm.com                  Email
                                                                                                                                                  Attn: J. David Forsyth
                                                                                                                                                  400 Poydras Street
                                                                                                                                                  Suite 2550
Counsel to Shanri Holdings Corporation                                                                 Sessions, Fishman & Nathan, LLC            New Orleans LA 70130                                                             jdf@sessions-law.com              Email
                                                                                                                                                                                                                                   bateman@sewkis.com
                                                                                                                                                                                                                                   patel@sewkis.com
                                                                                                                                                  Attn: Gregg Bateman, Sagar Patel, Michael Danenberg, John R. Ashmead, Gregg S.   danenberg@sewkis.com
                                                                                                                                                  Bateman, Andrew J. Matott                                                        ashmead@sewkis.com
Counsel to the DIP Agent, Wilmington Trust, National Association, as Prepetition First Lien Agent and                                             One Battery Park Plaza                                                           bateman@sewkis.com                First Class Mail
DIP Agent                                                                                             Seward & Kissel LLP                         New York NY 10004                                                                matott@sewkis.com                 and Email
                                                                                                                                                  Attn: Eric S. Goldstein                                                          egoldstein@goodwin.com
                                                                                                                                                  One Constitution Plaza                                                           bankruptcy@goodwin.com
Counsel to Sayville Plaza Development, LLC                                                             Shipman & Goodwin LLP                      Hartford CT 06103-1919                                                           bankruptcyparalegal@goodwin.com   Email
                                                                                                                                                  Attn: William F. McDonald III
                                                                                                                                                  10920 Via Frontera, Suite 220
Counsel to ShopCore Properties and its related entities                                                ShopCore Properties                        San Diego CA 92127                                                               wmcdonald@shopcore.com            Email




              In re: Franchise Group, Inc., et al.
              Case No. 24-12480 (LSS)                                                                                                              Page 7 of 9
                                                                                    Case 24-12480-LSS                             Doc 1178                     Filed 03/26/25                Page 11 of 16
                                                                                                                                                 Exhibit A
                                                                                                                                           Core/2002 Service List
                                                                                                                                          Served as set forth below


                                                                                                                                                                                                                                                 METHOD OF
                                                     DESCRIPTION                                                         NAME                                                         ADDRESS                                       EMAIL         SERVICE
                                                                                                                                               Attn: Ronald M. Tucker
                                                                                                                                               225 West Washington Street
Counsel to Simon Property Group, Inc. and its related entities                                         Simon Property Group, Inc.              Indianapolis IN 46204                                         rtucker@simon.com                  Email
                                                                                                                                               Attn: Michelle E. Shriro
                                                                                                                                               16200 Addison Road, Suite 140
Counsel to Village at the Mall Holdings, LLC, Bridge33 Capital LLC                                     Singer & Levick, P.C.                   Addison TX 75001                                              mshriro@singerlevick.com           Email
                                                                                                                                               Attn: Dana S. Plon
                                                                                                                                               123 South Broad Street, Suite 2100
Counsel to Paoli Shopping Center Limited Partnership, Phase II                                         Sirlin Lesser & Benson, P.C.            Philadelphia PA 19109                                         dplon@sirlinlaw.com                Email
                                                                                                                                               Attn: Mark A. Salzberg
                                                                                                                                               2550 M Street, NW
Counsel to Blue Yonder, Inc.                                                                           Squire Patton Boggs (US) LLP            Washington DC 20037                                           mark.salzberg@squirepb.com         Email
                                                                                                                                               Attn: Joseph H. Lemkin
                                                                                                                                               PO Box 5315
Counsel to Peoria Rental Properties, LLC                                                               Stark & Stark, P.C.                     Princeton NJ 08543                                            jlemkin@stark-stark.com            Email
                                                                                                                                               Attn: Sabrina L. Streusand
                                                                                                                                               1801 S. MoPac Expressway, Suite 320
Counsel to Dell Financial Service L.L.C.                                                               Streusand, Landon Ozburn & Lemmon, LLP Austin TX 78746                                                streusand@slollp.com               Email
                                                                                                                                               Attn: G. James Landon
                                                                                                                                               1801 S. Mopac Expressway, Suite 320
Counsel for Dell Financial Services, L.L.C.                                                            Streusand, Landon, Ozburn & Lemmon, LLP Austin TX 78746                                               landon@slollp.com                  Email
                                                                                                                                               Attn: William A. Hazeltine
                                                                                                                                               919 N. Market Street
                                                                                                                                               Suite 420
Counsel to Whirlpool Corporation                                                                       Sullivan Hazeltine Allinson LLC         Wilmington DE 19801                                           whazeltine@sha-llc.com             Email
                                                                                                                                               Attn: Charles S. Stahl, Jr.
                                                                                                                                               2525 Cabot Drive
                                                                                                                                               Suite 204
Counsel to Raymond Leasing Corporation                                                                 Swanson, Martin & Bell, LLP             Lisle IL 60532                                                cstahl@smbtrials.com               Email
                                                                                                                                               Attn: David E. Cohen
                                                                                                                                               500 Skokie Boulevard, Suite 600
Counsel to MJK Real Estate Holding Company, LLC                                                        SWK Attorneys at Law                    Northbrook IL 60062                                           dcohen@swkattorneys.com            Email
Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates, Pasan LLC, Esan LLC,
Fundamentals Company LLC, Muffrey LLC, Fundamentals Company, Kinpark Associates, Laurie                                                         Attn: Jeffrey Rhodes
Industries Inc., Alisan Trust, Diajeff Trust, Stowsan Limited Partnership, Esue LLC, Alisan LLC, and                                            2001 L Street, NW, Suite 500
Roseff LLC                                                                                             Tayman Lane Chaverri LLP                 Washington DC 20036                                          jrhodes@tlclawfirm.com             Email
                                                                                                                                                Attn: Bradshaw Rost
                                                                                                                                                4504 Walsh Street, Suite 200
Counsel to Creditor, Parkridge Center Retail, LLC                                                      Tenenbaum & Saas, P.C.                   Chevy Chase MD 20815                                         BRost@tspclaw.com                  Email
                                                                                                                                                Attn: Christopher S. Murphy, Assistant Attorney General
                                                                                                                                                Bankruptcy & Collections Division
                                                                                                                                                P.O. Box 12548
Counsel to the Texas Comptroller of Public Accounts                                                    Texas Attorney General's Office          Austin TX 78711-2548                                         christopher.murphy@oag.texas.gov   Email
                                                                                                                                                Attn: William Ehrlich
                                                                                                                                                444 Executive Center Blvd, Suite 240
Counsel to Cielo Paso Las Tiendas, L.P.                                                                The Ehrlich Law Firm                     El Paso TX 79902                                             william@ehrlichlawfirm.com         Email
                                                                                                                                                Attn: Mark F. Magnozzi
                                                                                                                                                23 Green Street, Suite 302
Counsel to Oracle America, Inc                                                                         The Magnozzi Law Firm, P.C.              Huntington NY 11743                                          mmagnozzi@magnozzilaw.com          Email
                                                                                                                                                Attn: Louis F Solimine
                                                                                                                                                312 Walnut Street
                                                                                                                                                Suite 2000
Counsel to LU Candlers Station Holdings, LLC                                                           Thompson Hine LLP                        Cincinnati OH 45202-4029                                     Louis.Solimine@ThompsonHine.com    Email
                                                                                                                                                Attn: Michael B. Pugh
                                                                                                                                                2 Sun Court, Suite 400
Counsel to Northside Village Conyers, LLC                                                              Thompson O'Brien Kappler & Nasuti PC     Peachtree Corners GA 30092                                   mpugh@tokn.com                     Email
                                                                                                                                                Attn: Aaron J. Tolson
                                                                                                                                                1906 Jennie Lee Dr.
Counsel to Integra Cre, Inc.                                                                           Tolson & Wayment, PLLC                   Idaho Falls ID 83404                                         ajt@aaronjtolsonlaw.com            Email




              In re: Franchise Group, Inc., et al.
              Case No. 24-12480 (LSS)                                                                                                            Page 8 of 9
                                                                             Case 24-12480-LSS                           Doc 1178                         Filed 03/26/25                Page 12 of 16
                                                                                                                                            Exhibit A
                                                                                                                                      Core/2002 Service List
                                                                                                                                     Served as set forth below


                                                                                                                                                                                                                                                              METHOD OF
                                                    DESCRIPTION                                                  NAME                                                            ADDRESS                                                          EMAIL        SERVICE
                                                                                                                                        Attn: Stephen B. Gerald
                                                                                                                                        200 Continental Drive, Suite 401
Counsel to The J. M. Smucker Company and Amazing Organics LLC t/a Amazing Herbs               Tydings & Rosenberg LLP                   Newark DE 19713                                                                     sgerald@tydings.com             Email
                                                                                                                                        Attn: David C. Weiss & Ellen Slights
                                                                                                                                        U.S. Attorney's Office
                                                                                                                                        1313 N Market Street, Suite 400
U.S. Attorney for the District of Delaware                                                    U.S. Attorney for Delaware                Wilmington DE 19801                                                                                                 First Class Mail
                                                                                                                                        Secretary of the Treasury
                                                                                              U.S. Securities and Exchange Commission - 100 F. Street NE                                                                                                    First Class Mail
Securities and Exchange Commission                                                            Headquarters                              Washington DC 20549                                                                 secbankruptcy@sec.gov           and Email
                                                                                                                                        Attn: Geoffrey J. Peters
                                                                                                                                        5475 Rings Road
                                                                                                                                        Suite 200
Counsel to Sangamon North LLC, the Commons at Southpark LLC                                   Weltman, Weinberg & Reis Co. LPA          Dublin OH 43017                                                                     bronationalecf@weltman.com      Email
                                                                                                                                        Attn: Bojan Guzina
                                                                                                                                        111 S. Wacker Dr., Suite 5100                                                                                       First Class Mail
Counsel to the Second Lien Secured Parties; HoldCo Lenders                                    White & Case LLP                          Chicago IL 60606                                                                    bojan.guzina@whitecase.com      and Email
                                                                                                                                                                                                                            cshore@whitecase.com
                                                                                                                                           Attn: J. Christopher Shore, Samuel P. Hershey, Andrew Zatz, Erin Smith, Brett    sam.hershey@whitecase.com
                                                                                                                                           Bakemeyer                                                                        azatz@whitecase.com
                                                                                                                                           1221 Avenue of the Americas                                                      erin.smith@whitecase.com
Counsel to Ad Hoc Group of Freedom Lenders                                                    White & Case LLP                             New York NY 10020-1095                                                           brett.bakemeyer@whitecase.com   Email
                                                                                                                                           Attn: Thomas Lauria
                                                                                                                                           200 South Biscayne Boulevard, Suite 4900                                                                         First Class Mail
Counsel to the Second Lien Secured Parties; HoldCo Lenders, Ad Hoc Group of Freedom Lenders   White & Case LLP                             Miami FL 33131                                                                   tlauria@whitecase.com           and Email
                                                                                                                                           Attn: Edmon L. Morton, Matthew B. Lunn, Allison S. Mielke, Shella Borovinskaya   emorton@ycst.com
                                                                                                                                           Rodney Square                                                                    mlunn@ycst.com
                                                                                                                                           1000 N. King Street                                                              amielke@ycst.com
Counsel to Debtors and Debtors In Possession                                                  Young Conaway Stargatt & Taylor, LLP         Wilmington DE 19801                                                              sborovinskaya@ycst.com          Email




             In re: Franchise Group, Inc., et al.
             Case No. 24-12480 (LSS)                                                                                                        Page 9 of 9
Case 24-12480-LSS   Doc 1178   Filed 03/26/25   Page 13 of 16




                        Exhibit B
                                             Case 24-12480-LSS     Doc 1178        Filed 03/26/25        Page 14 of 16

                                                                           Exhibit B
                                                        Executory Contracts Rejection Parties Service List
                                                                   Served via First Class Mail

                                                                                                                                                 POSTAL
ADDRESSID                                     NAME                                                      ADDRESS                    CITY    STATE CODE
29793014      Dempsey Uniform & Linen Supply Inc                                  1200 Mid Valley Dr                           Jessup      PA   18434
                                                                                  ATTN KENNETH SCHWITERMAN, CO CBRE 5100
30217911      FACILITYSOURCE LLC                                                  TOWN CENTER, CIRCLE TOWER II STE 600         BOCA RATON FL    33432
                                                                                  ATTN WILLIAM HAYDEN CFO, 200 EAST CAMPUS
30217910      FACILITYSOURCE LLC                                                  BLVD, SUITE 301                              COLUMBUS    OH   43235
                                                                                  CO ELLENOFF GROSSMAN & SCHOLE LLP, ATTN
                                                                                  GENERAL COUNSEL, 370 LEXINGTON AVENUE 19TH
30217912      FACILITYSOURCE LLC                                                  FLOOR                                        NEW YORK    NY   10017

                                                                                  CO HAHN LOESER & PARKS LLP, ATTN CHRISTOPHER
30217913      FACILITYSOURCE LLC                                                  WICK, 200 PUBLIC SQUARE SUITE 2800           CLEVELAND   OH   44114
                                                                                  10801 NORTH MOPAC EXPRESSWAY, BUILDING 1
30217914      IDERA INC                                                           SUITE 100                                    AUSTIN      TX   78759
30217915      IDERA INC                                                           4001 W PARMER LN SUITE 125                   AUSTIN      TX   79727
30217916      SPECIALTY MAT SERVICE                                               2730 BEVERLY DRIVE                           AURORA      IL   06050

30217918      VESTIS SERVICES LLC FKA ARAMARK UNIFORM CAREER APPAREL LLC          ATTN GENERAL COUNSEL, 115 NORTH FIRST STREET BURBANK     CA   91502
                                                                                  CO HAWLEY TROXELL, ATTN DEVIN B GRAY, 877 W
30217920      VESTIS SERVICES LLC FKA ARAMARK UNIFORM CAREER APPAREL LLC          MAIN ST 200                                  BOISE       ID   83702




      In re: Franchise Group, Inc., et al.
      Case No. 24-12480 (LSS)                                              Page 1 of 1
Case 24-12480-LSS   Doc 1178   Filed 03/26/25   Page 15 of 16




                        Exhibit C
                                             Case 24-12480-LSS     Doc 1178       Filed 03/26/25   Page 16 of 16

                                                                          Exhibit C
                                                                 Rejection Parties Service List
                                                                  Served via First Class Mail

                                                                                                                                   POSTAL
ADDRESSID                                 NAME                                          ADDRESS                      CITY    STATE CODE
                                                            ATTN RYAN HAHN, CO INNOVATION REALTY IN LLC, 1075
30217917        I3 INVESTORS LLC                            BROAD RIPPLE AVE 309                              Indianapolis   IN   46220

30217919        INNOVATION CENTER LLC                       ATTN GENERAL COUNSEL, 8400 INDUSTRIAL PARKWAY PLAIN CITY         OH   43064
30217921        INNOVATION CENTER LLC                       ATTN JOHN LEWIS, 1036 HILLS MILLER ROAD           DELAWARE       OH   43015
29790445        Innovation Realty IN, LLC                   484 E Carmel Drive                                Carmel         IN   46032
                                                            ATTN LEGAL DEPARTMENT, CO IRC RETAIL CENTERS, 814
30217926        IRC RED TOP PLAZA LLC                       COMMERCE DRIVE SUITE 300                          OAK BROOK      IL   60523
                                                            ATTN PROPERTY MANAGER, CO IRC RETAIL CENTERS,
30217927        IRC RED TOP PLAZA LLC                       814 COMMERCE DRIVE SUITE 300                      OAK BROOK      IL   60523
                                                            ATTN GENERAL COUNSEL, 420 LEXINGTON AVENUE 7TH
30217928        NEW PLAN PROPERTY HOLDING COMPANY           FLOOR                                             NEW YORK       NY   10170
                                                            ATTN REGIONAL COUNSEL, CO BRIXMOR PROPERTY GRP,
30217929        NEW PLAN PROPERTY HOLDING COMPANY           2 TOWER BR 1 FAYETTE ST STE 150                   CONSHOHOCKEN   PA   19428




   In re: Franchise Group, Inc., et al.
   Case No. 24-12480 (LSS)                                                Page 1 of 1
